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                                      United States District Court
                                    for the Southern District of Ohio
                                     Western Division at Cincinnati

Miriam Fruhling, et al.,

                      Plaintiff(s),                                     Case No. 1:22-cv-451

       v.                                                               Judge Douglas R. Cole

Kia Motors America, Inc., et al.,

                      Defendant(s).


                                      NOTICE OF DEFICIENCY

August 8, 2022


The Court’s docket reflects the filing of a motion for leave to appear pro hac vice in this case
(ECF #2). S.D. Ohio Civ. R. 83.3(e) governs motions for leave to appear pro hac vice and states
in part:
       “Any attorney seeking this type of admission must do so by: (i) filing a motion for
       admission…in each case in which the attorney wishes to appear, with the motion
       signed by a permanent member of the bar; (ii) providing a certificate of good
       standing from the highest Court of a State or the District of Columbia that has been
       issued not more than six months prior to the date of the motion; and (iii) remitting
       any applicable admission fee.”

The motion does not comply with Local Rule 83.3 for the following reason(s):

☐   The motion is not signed by a permanent member of the bar of this Court.

☐   The motion is not accompanied by the required filing fee.

☒   The motion does not contain the required certificate of good standing.
    ☐ The certificate is not from the highest court of a State or the District of Columbia.
    ☒ The certificate was issued more than six months ago.

☐   Other:




Please resubmit the motion or a proper certificate of good standing within 14 days.
